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                  EXHIBIT C
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                                                                                                                                            Page 1


           UNITED                STATES             DISTRICT                   COURT
           EASTERN                DISTRICT                   OF       NEW          YORK
           -    -        -        -        -        -        -        -        -        -        -        -        -        -       -        -       x
           EDWARD                SHIN,
                                           Plaintiff,


                                  -against-
           YS2          ENTERPRISES                         INC.,             MICHAEL                S.       WANG,
           VICTORIA                   WANG          as       TRUSTEE                   OF       THE       RICHARDSON
           IRREVOCABLE                         TRUST,                TERRANCE                   WU,       DEH-JUNG
           DEBORAH                WANG,             and          YOUNG             K.       LEE


                                           Defendant.
           -        -        -        -        -        -        -        -        -        -        -        -        -        -       -        -       x
                                                            1270          Broadway
                                                            New       York,             New          York          10001
                                                            May       21,          2019
                                                            1:15              p.m.


                    EXAMINATION                         BEFORE                TRIAL             of       DANIEL             PARK,            a
           Non-Party                      Witness                herein,                taken             by       MS.
           BERKOWITZ,                      in       the          above-entitled                               action,               held
           at       the          above             time          and          place,             pursuant                   to
           Subpoena,                      taken             before             CHRISTA                   M.       MILOSCIA,                  a
           Shorthand                      Reporter                   and       Notary                Public                within
           and          for       the          State             of       New          York.


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                                                                          Page 2
      1
      2    A   P    P E A R A N C E S:
      3            THE BASIL LAW GROUP
                        Attorneys for Plaintiff
      4                 1270 Broadway
                        New York, New York 10001
      5            BY:  DAVID A. COHEN, ESQ.
                           davidacohen@rjbasil.com
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                   AHMUTY, DEMERS & MCMANUS
      7                 Attorneys for Defendant
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                           Janice.Berkowitz@admlaw.com
     10
              CHARTWELL LAW
     11            Attorneys for Defendants
                   VICTORIA WANG as TRUSTEE OF RICHARDSON
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                   81 Main Street
     13            White Plains, New York 10601
              BY:  CARMEN A. NICOLAOU, ESQ.
     14               cnicolaou@chartwell.com
     15       LONGO AND D'APICE
                   Attorneys for Defendant
     16            YOUNG K. LEE
                   26 Court Street
     17            Brooklyn, New York 11242
              BY:  STEVEN J. WEISSLER, ESQ.
     18
     19
     20
     21
     22
           ALSO      PRESENT:
     23
                   EESHA   MALYALA   -   SITTING     IN   WITH   CHARTWELL
     24            LAW
     25
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                                                                                                         Page 3
      1
      2                           S    T    I    P    U    L    A    T    I    O    N    S

      3          IT    IS    STIPULATED                   AND       AGREED          by       and   between

      4    the    attorneys                for       the       respective                parties

      5    herein,          and       in    compliance                   with       Rule       221      of    the

      6    Uniform          Rules          for       the       Trial          Courts:

      7          THAT       the       parties             recognize                the       provision            of

      8    Rule       3115       subdivisions                   (b),          (c)       and/or         (d).

      9    All    objections                made          at    a    deposition                shall         be

     10    noted       by    the       officer             before             whom       the

     11    deposition             is       taken,          and       the       answer          shall         be

     12    given       and       the       deposition                shall          proceed            subject

     13    to    the    objections                   and       to    the       right          of   a    person

     14    to    apply       for       appropriate                   relief             pursuant         to

     15    Article          31    of       the       CPLR;

     16          THAT       every          objection                raised          during         a

     17    deposition             shall          be       stated          succinctly               and

     18    framed       so       as    not       to       suggest             an    answer         to    the

     19    deponent          and,          at    the       request             of       the

     20    questioning                attorney,                shall          include          a   clear

     21    statement             as    to       any       defect          in       form       or   other

     22    basis       of    error          or       irregularity.                       Except         to    the

     23    extent       permitted                by       CPLR       Rule          3115       or   by    this

     24    rule,       during          the       course             of    the       examination

     25    persons          in    attendance                   shall          not       make
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                                                                                                          Page 4
      1
      2    statements                or    comments          that       interfere                with          the

      3    questioning.

      4          THAT       a    deponent          shall       answer             all       questions

      5    at    a   deposition,                 except       (i)       to    preserve                a

      6    privilege             or       right    of    confidentiality,                         (ii)          to

      7    enforce          a    limitation             set    forth          in       an    order             of

      8    a    court,          or    (iii)       when       the       question             is    plainly

      9    improper             and       would,    if       answered,             cause

     10    significant                prejudice          to    any          person.              An

     11    attorney             shall       not    direct          a    deponent             not          to

     12    answer       except             as    provided          in       CPLR       Rule       3115          or

     13    this      subdivision.                  Any       refusal          to       answer             or

     14    direction             not       to    answer       shall          be    accompanied

     15    by    a   succinct              and    clear       statement                on    the          basis

     16    therefore.                 If    the    deponent             does       not       answer             a

     17    question,             the       examining          party          shall          have          the

     18    right       to       complete          the    remainder                of    the

     19    deposition.

     20          THAT       an       attorney       shall          not       interrupt                the

     21    deposition                for    the    purpose             of    communicating

     22    with      the        deponent          unless       all          parties          consent

     23    or    the    communication                   is    made          for    the       purpose

     24    of    determining                whether          the       question             should             not

     25    be    answered             on    the    grounds             set    forth          in
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                                                                                                    Page 5
      1
      2    Section          221.2       of    these       rules,          and,       in    such

      3    event,          the    reason          for    the       communication                shall

      4    be    stated          for    the       record       succinctly                and

      5    clearly.

      6          THAT       the       failure       to    object          to       any    question

      7    or    to    move       to    strike          any    testimony             at    this

      8    examination                shall       not    be    a    bar       or    waiver          to

      9    make       such       objection          or    motion          at       the    time       of

     10    the    trial          of    this       action,          and    is       hereby

     11    reserved;             and

     12          THAT       this       examination             may       be    signed          and

     13    sworn       to    by       the    witness          examined             herein       before

     14    any    Notary          Public,          but    the       failure          to    do       so    or

     15    to    return          the    original          of       the    examination                to

     16    the    attorney             on    whose       behalf          the       examination

     17    is    taken,          shall       not    be    deemed          a    waiver          of    the

     18    rights          provided          by    Rules       3116       and       3117       of    the

     19    C.P.L.R,          and       shall       be    controlled                thereby;          and

     20          THAT       the       certification                and    filing          of    the

     21    original          of       this    examination                are       hereby

     22    waived;          and

     23          THAT       the       questioning             attorney             shall       provide

     24    counsel          for       the    witness          examined             herein       with       a

     25    copy       of    this       examination             at    no       charge.
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                                                                                                Page 6
      1                                              D.       PARK
      2     D    A    N    I    E    L     P    A    R    K,       the    Witness
      3     herein,             having          been          first       duly       sworn       by
      4     a    Notary             Public          of    the       State       of
      5     New       York,          was       examined             and    testified             as
      6     follows:
      7     EXAMINATION
      8     BY       MS.       BERKOWITZ:
      9                   Q.    State          your       name       for       the       record,
     10         please.
     11                   A.    Daniel          Park.
     12                   Q.    Good       afternoon,                my    name          is
     13         Janice          Berkowitz.                    I'm    with       the       law
     14         firm       which          represents                YS2,       which          we're
     15         calling             the    "karaoke                club"       in    this
     16         lawsuit             brought          by       Edward       Shin.
     17                         I'm       going          to    ask       you    some
     18         questions                today.           You're          being
     19         represented                by       the       attorney          on       your
     20         right,          David          Cohen;          is    that       correct?
     21                   A.    Yes.
     22                   Q.    Do       you    have          an    office          in    the
     23         space          we're       at       right          now?
     24                   A.    This       office.
     25                   Q.    Are       you       the       tenant?
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                                                                                 Page 7
      1                                     D.       PARK
      2             A.    Yes.
      3             Q.    And       do    you       lease    space    to       the
      4      Basil       Law       Group?
      5             A.    Yes.
      6             Q.    And       how    long       have    you    been       doing
      7      that     for?
      8             A.    10       years,       I    believe.
      9             Q.    10       years?
     10             A.    Yeah.
     11                            MR.    WEISSLER:           Mr.    Park,       can
     12             you       keep       your       voice    up    because       I
     13             can't          hear    you       down    here?
     14             Q.    So       you've       known       Mr.    Basil       for
     15      about       10    years?
     16             A.    Yes.
     17             Q.    Did       you    know       him    before       he
     18      started          leasing       space       here?
     19             A.    No.
     20             Q.    Are       you    friends          with    Mr.    Basil?
     21             A.    Before,          no.
     22             Q.    What       about          right    now,    since       he's
     23      related          to    this    case?
     24             A.    Close.
     25                            MS.    NICOLAOU:           Just    speak
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                                                                                             Page 8
      1                                           D.    PARK
      2             up.
      3             Q.    And          does       he    refer       business                to
      4      you?
      5             A.    Not          really.
      6             Q.    Do       you       refer          business          to       him?
      7             A.    Maybe             once       or    twice.
      8             Q.    And          do    you       have       any    common
      9      clients?
     10             A.    Yes,          yes,          but    it's       not    on       a
     11      regular          basis.              I    referred          him       a    couple
     12      of   times,           I    believe,             if    he    can       call          the
     13      clients,          I       guess.
     14             Q.    And          do    you       know       Noah    Bank?
     15             A.    Yes,          I    do.
     16             Q.    What's             your       relationship                   with
     17      Noah     Bank?
     18             A.    I    mean,             all    of    my    clients             use
     19      Noah     Bank         and       they       borrow          money          for
     20      Noah     Bank,            for       loans,       that's          how       I    know
     21      them.
     22             Q.    You're             a    CPA?
     23             A.    Yes.
     24             Q.    So       you       refer          your    clients             to
     25      Noah     Bank?
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                                                                                     Page 9
       1                                     D.       PARK
       2             A.    Couple       of       times.
       3             Q.    And    are       you       the    CPA    for
       4      Noah    Bank?
       5             A.    No.
       6             Q.    And    how       do    you       know    Edward          Shin?
       7             A.    Through          the       client,       you       know,      my
       8      client,       you       know,       they       ask    me    to    send
       9      them    papers          and    e-mail          them       papers       and,
      10      you    know,       as    time       goes       I    just    get       to
      11      know    them       because          I    start       to    talk       to
      12      them    about       the       laws       and       what    they       want.
      13             Q.    And    that's          how       you    know
      14      Mr.    Shin,       through          Noah       Bank?
      15             A.    Yes.
      16             Q.    And    how       many       years       have       you
      17      known       him    through          Noah       Bank?
      18             A.    15    maybe,          15    years.
      19             Q.    And    would          you    describe          your
      20      friend       --    are    you       friends          with
      21      Mr.    Shin,       do    you       socialize          together?
      22             A.    Not    really.
      23             Q.    Okay.        So       it's       more    of    a
      24      business          relationship?
      25             A.    Yes.
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                                                                                 Page 10
       1                                        D.    PARK
       2             Q.    All    right.
       3                   Now,       I       want    to    direct       your
       4      attention          to       April       21st,       2017,    when
       5      this    incident                happened       which       we're    here
       6      about       today.
       7             A.    Okay.
       8             Q.    Did    you          go    to    the    karaoke       bar
       9      that    night?
      10             A.    Yes.
      11             Q.    And    what          time       did    you    arrive?
      12             A.    Must       be       about       9:30    or    10.
      13             Q.    And    did          you    arrive       by    yourself?
      14             A.    No,    I       had       two    other    people       with
      15      her.
      16             Q.    And    who          were       those    two    other
      17      people?
      18             A.    One    was          my    client,       the    other       one
      19      was    somebody             I    saw    for    the    first       time.
      20                         MR.          WEISSLER:           Can    you    read
      21             that    back,             please?
      22                         (Whereupon,                the    record       was
      23             read    by       the       reporter.)
      24             Q.    Who    was          the    client?
      25             A.    Mr.    Hong,             H-O-N-G.
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                                                                                       Page 11
       1                                     D.       PARK
       2                         MR.       WEISSLER:              I'm       sorry.
       3             Q.   You     have       to       really          speak       up.
       4             A.   Mr.     Hong,          H-O-N-G,             that    was       my
       5      client      and     the       other          person          Lee,       that's
       6      someone       I    saw       for    the          first       time.
       7             Q.   Is     that       Chung          Lee    or       Young       Lee?
       8             A.   Young        Lee,       I    believe.
       9             Q.   Young        Lee?
      10             A.   Young        Lee.
      11             Q.   And     when       you       got       to    the    karaoke
      12      bar,    did       you    go    into          a    room?
      13             A.   Yes.
      14             Q.   Did     you       have       a       rearranged
      15      meeting       with       Young          Lee       and    Mr.    Hong?
      16             A.   Yeah,        we    had       dinner          together.
      17             Q.   You     had       dinner             together       before?
      18             A.   Yeah.
      19             Q.   Where'd           you       have       dinner?
      20             A.   It's        on    the       corner          of    the
      21      Northern          Boulevard             and       Union       Street;
      22      Keum    Kang       San,       K-E-U-M,             K-A-N-G,             S-A-N.
      23             Q.   And     was       it    a    business             dinner?
      24             A.   Pretty           much       social,          like       a
      25      social      dinner,           no    business.
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                                                                             Page 12
       1                                    D.    PARK
       2             Q.   So    Mr.     Hong      was    your       client?
       3             A.   Yes.
       4             Q.   And    did     he      bring    Mr.       Young    Lee?
       5             A.   Yes,     he    was      there.        There       was
       6      several         other     people         there    anyway.
       7             Q.   Was    that       the    first       time    you    had
       8      met    Young      Lee?
       9             A.   Yes.
      10             Q.   Did    you     see      --    did    you    observe
      11      Mr.    Young      Lee     drink      any    alcohol       at    the
      12      dinner?
      13             A.   Yes.
      14             Q.   And    what       did    you    observe       him
      15      drink?
      16             A.   Soju.
      17             Q.   Soju,       how     much?
      18             A.   I    wouldn't          know    how    much    but       I
      19      was    drinking,          everyone         basically          was
      20      drinking?
      21                        MR.     WEISSLER:             I'm    sorry.
      22             Maybe      I'm     hard      of    hearing,       did    he
      23             drink      soda?
      24                        MS.     BERKOWITZ:             Soju;    it's          a
      25             Korean      vodka.
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                                                                                       Page 13
       1                                        D.    PARK
       2                         MS.       NICOLAOU:                 Do    you    want
       3             to?
       4             Q.    It's       Korean          vodka,          at    least
       5      that's       what       I    think       it       is.
       6                   It's       Korean          vodka,          right?
       7             A.    Yes.
       8             Q.    So    when       you       saw       Mr.       Young       Lee
       9      drinking          the       Soju,       was       he    drinking          it
      10      in    shots       or    in    a    glass          or    what?
      11             A.    I    believe          it    was       shot,       that's
      12      how    we    usually          drink.
      13             Q.    Did       you    see       how       many       shots       he
      14      had?
      15             A.    I    have       no    idea.
      16             Q.    Okay.           And       when       you       left    the
      17      dinner,          who    did       you    leave          with?
      18             A.    Just       us    three.
      19             Q.    Did       Mr.    Young          Lee       appear
      20      intoxicated             when       he    left          the    dinner?
      21             A.    I    would       say       so       because       I    was
      22      drunk       obviously,             and       I    believe          he    was
      23      drunk,       too.
      24             Q.    And       what       led    you       to       believe
      25      that?        Was       it    his       behavior,             his
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                                                                                    Page 14
       1                                        D.    PARK
       2      appearance?
       3             A.    Both;          walking,          the       way    he    talks,
       4      keeps       his    voice          really       loud          when    people
       5      get    drunk(sic).
       6             Q.    Was       it    a    happy       loud       or    an    angry
       7      loud?
       8             A.    Happy.
       9             Q.    How       was       --    how    was       he    walking,
      10      which       led    you       to       believe       he       was
      11      intoxicated?
      12             A.    Not       straight.
      13             Q.    Okay.           And       where       was       the    dinner?
      14      Where'd          you    say       the       dinner       was;       what
      15      town?
      16             A.    In    Flushing.
      17             Q.    In    Flushing?
      18             A.    Yep.
      19             Q.    And       how       did    you    get       to    the
      20      karaoke          club?
      21             A.    I    think          somebody          in    the       group
      22      drove       us    there.
      23             Q.    And       what       time       did    you       arrive?
      24             A.    I    think          it's       9:30    or       10.
      25             Q.    And       where          did    you    go       when    you
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                                                                              Page 15
       1                                     D.    PARK
       2      arrived?
       3             A.    Upstairs          --    upstairs       to    the
       4      room.
       5             Q.    And    how'd       you    get    upstairs?
       6             A.    By    walking          obviously.
       7             Q.    And    when       you    got    upstairs,          what
       8      did    you    do?
       9             A.    Went       into    the    room,       order
      10      Johnnie       Walker.
      11                         MR.    WEISSLER:           I'm    sorry,
      12             what       did    you    order?
      13                         MS.    BERKOWITZ:              Johnnie
      14             Walker.
      15             Q.    Did    anyone          from    the    karaoke       bar
      16      meet    you       when    you       walked    in?
      17             A.    They       obviously          greeted       us.
      18             Q.    Do    you    know       who    greeted       you?
      19             A.    No    idea       who;    waiters.
      20             Q.    Do    you    know       the    waiters'       names?
      21             A.    No.
      22             Q.    When       the    waiter       greeted       you    and
      23      he    took    you       into    the    room,       was    it    just
      24      you,    Young       Lee,       and    Mr.    Hong?
      25             A.    Yes.
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                                                                                   Page 16
       1                                        D.    PARK
       2             Q.    And       who    ordered          the       bottle      of
       3      Johnnie          Walker?
       4             A.    I    think       it       was    Mr.    Hong.
       5             Q.    Okay.           And       when    the       waiter
       6      brought          it    in,    did       he    place       it    on   the
       7      table?
       8             A.    Yes.
       9             Q.    Did       the    waiter          pour       any    drinks?
      10             A.    No,       usually          --    no,    no,       no.
      11             Q.    Okay.           And       did    you    see       Young      Lee
      12      have    any       of    the       Johnnie          Walker?
      13             A.    Yes.
      14             Q.    And       how    much       did       you    see    him
      15      drink?
      16             A.    That       I    --    I    think       we    ordered         two
      17      bottles.
      18             Q.    I    just       want       to    know       specifically
      19      how    much       you       saw    Young       Lee       drink.        If
      20      you    don't          know    then       you       don't       know,      I
      21      don't       want       you    to       guess.
      22             A.    I    don't       know.
      23             Q.    Did       you    have       any       conversations
      24      with    Young          Lee    about          his    drinking?
      25             A.    About          his    drinking.
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                                                                                          Page 17
       1                                           D.    PARK
       2             Q.    Right,             about          how    much       he    was
       3      drinking          or       if    he       was    intoxicated                or
       4      anything          like          that?
       5             A.    No.
       6             Q.    Did       you       see       anyone          from       the
       7      karaoke          club       have          any    conversations
       8      with    Mr.       Lee?
       9             A.    Yeah,          of       course.
      10             Q.    Any       conversations                   about          his
      11      drinking          or       his       intoxication?
      12             A.    Not       that          I    can    remember.
      13             Q.    Okay.              At       some    point          did    Mr.       --
      14      did    you       leave          the       room       and    go    get
      15      Mr.    Shin       in       the       other       room?
      16             A.    No,       I    bumped             into    Mr.       Shin,       I
      17      believe          it    was       in       the    restroom             --    men's
      18      room.        I    said          obviously,             "Hi."
      19             Q.    What          time          was    that?
      20             A.    I    got       there          9:30,       10,       so
      21      probably          around             11.        After       a    while       or
      22      so.
      23             Q.    Okay.              And       when       you    bumped          into
      24      him    and       said,          "Hello,"             then       what
      25      happened?
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                                                                                         Page 18
       1                                       D.    PARK
       2               A.    I    realized          him       in    the          next    room
       3      so   I    basically             said,       have          a    nice       time,
       4      that's         it.
       5               Q.    Did    you       bring       him       into          your
       6      room?
       7               A.    No,    he    just       came          to       my    room.
       8               Q.    You    didn't          bring          him       in?
       9               A.    No.
      10               Q.    Okay.        What       time          did       Mr.    Shin
      11      come      into       your       room?
      12               A.    11,    11:30,          shortly             after       I    met
      13      him.
      14               Q.    When       you    saw    him          in       the
      15      bathroom,            did    he    appear             intoxicated?
      16               A.    Yes.
      17               Q.    All    right.
      18                     Then       when    he    came          into          your
      19      room,         what    happened?
      20               A.    I    introduced          the          other          two
      21      person         to    Mr.    Shin       and       they          started       to
      22      talk,         you    know,       "This          is    his          banker,"
      23      "Mr.      Hong       is    running          a    business,"                you
      24      know,         if    you    need       anything,                you    know,       I
      25      just      introduced             them(sic).
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                                                                                   Page 19
       1                                        D.       PARK
       2                         MR.       WEISSLER:              Off      the
       3             record.
       4                         (Whereupon,                the      record       was
       5             read       by    the       reporter.)
       6             Q.    What       kind          of    business         does
       7      Mr.    Hong       have?
       8             A.    A    salad          bar.
       9             Q.    Did       Mr.       Shin       and   Young       Lee    have
      10      any    business             discussions?
      11             A.    Not       business             discussions,
      12      basically          introductions.
      13             Q.    And       how       long       did   Mr.     Shin      stay
      14      in    your       room?
      15             A.    Not       too       long,       he   drink,       I    don't
      16      know    maybe          one       or    two    glasses         in    my
      17      room    and       left(sic).
      18             Q.    And       he    went          back   to    his    room?
      19             A.    Yes.
      20             Q.    Okay.           Are       you    able      to    say    how
      21      much    Young          Lee       drank?
      22             A.    I    mean       if       you    talk      about       how
      23      many    glasses,             I    wouldn't          know      but    he
      24      looks       pretty          drunk.
      25             Q.    And       what       makes       you      say    that?
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                                                                                   Page 20
       1                                    D.    PARK
       2             A.   He       couldn't       walk       straight,
       3      that's      all.
       4             Q.   You       saw    him    walking          in    the       room
       5      or    outside         of    the    room?
       6             A.   When       he    was    going       outside,             going
       7      to    restroom.
       8             Q.   And       what    else       besides          he
       9      couldn't         walk       straight       led       you       to
      10      believe         he    was    drunk?
      11             A.   You       know,       when    he    talks,
      12      mumbling.
      13             Q.   And       without       guessing,             did       you
      14      see    anybody         that       you    thought          to    be
      15      employed         by    the    karaoke          bar    observe
      16      Mr.    Lee's         walking       and    mumbling?
      17             A.   There's          always       people          outside
      18      the    hallway.
      19             Q.   I    just       want    to    know       if    you
      20      specifically               know    if    you    observed
      21      anyone      employed          by    the    karaoke             bar
      22      specifically               observe       Mr.    Young          Lee?
      23                           MR.    COHEN:        Objection             to    the
      24             form;         you    can    answer.
      25             A.   Because          he    couldn't          really          walk
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                                                                                 Page 21
       1                                     D.    PARK
       2      straight.           If    I    remember       correctly,                I
       3      think       the    one    waiter       was,       you       know,
       4      taking       him    to    the       restroom.
       5             Q.    Okay.        Do    you    know       the       waiter's
       6      name?
       7             A.    No    idea.
       8             Q.    What    did       he    look    like?
       9             A.    In    his    30's,       well-built,             I    mean
      10      --    Korean.
      11             Q.    Did    you       have    any    conversations
      12      with    the       waiter       about       Young    Lee?
      13             A.    No.
      14             Q.    Did    you       see    anybody       employed             by
      15      the    karaoke       bar       pour    Mr.    Young          Lee    a
      16      drink?
      17             A.    Yeah.
      18             Q.    No,    actually          pour    him       a    drink,
      19      not    put    the    alcohol          on    the    table          but
      20      actually          pour    a    drink?
      21             A.    Yes.
      22             Q.    Who    pours?
      23             A.    Girls       who    are    working          in    the
      24      karaoke       bar.
      25                         MR.    WEISSLER:           I'm       sorry.
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                                                                                    Page 22
       1                                        D.    PARK
       2                            (Whereupon,                the    record       was
       3             read       by       the    reporter.)
       4             Q.    And       how       do    you       know    they       worked
       5      in    the    karaoke             bar?
       6             A.    How       --    how       could       you       not    know?
       7             Q.    I    don't          know,       I    wasn't       there.
       8             A.    I    mean,          they       worked       there       to
       9      serve.
      10             Q.    How       do    you       know       that?
      11             A.    I    mean       how       would       I    not    know?        I
      12      mean,       people          were       working          there,       girls
      13      were       working          there.
      14             Q.    And       you       saw    a    girl       pour       Young
      15      Lee    a    drink?
      16             A.    Yeah.
      17             Q.    How       many       drinks?
      18             A.    I    mean       if       you    keep       asking
      19      specific          numbers.
      20             Q.    I    want       specific             numbers.
      21             A.    I    don't          know.
      22             Q.    Okay.
      23             A.    But       either          me,       Mr.    Lee,
      24      Mr.    Hong,          we    had       finished          up    two
      25      bottles          of    Johnnie          Walker.
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                                                                                       Page 23
       1                                     D.       PARK
       2             Q.    Right,          but    I'm       only       asking          about
       3      Young       Lee       and    what       you    specifically
       4      know,       if       you    can't       give       me    a    specific,
       5      just    say          you    can't       give       me    a    specific.
       6                            MR.    COHEN:           Do    you       have       a
       7             question.
       8             Q.    How       many    drinks          did       you    see          the
       9      girls       pour       Young       Lee?
      10             A.    At       least    10.
      11             Q.    You       saw    her       pour       10    drinks          for
      12      Mr.     Young          Lee?
      13             A.    At       least.        We    stayed             there       for,
      14      I   don't        know,       maybe       three          hours    or          so.
      15             Q.    At       some    point       did       you       fall
      16      asleep       on       the    couch?
      17             A.    Yes.
      18             Q.    And       what    time       was       that?
      19             A.    Shortly          after       Mr.       Shin       came          to
      20      our    room          and    once    after          he    left,       I
      21      believe          I    fell    asleep.
      22             Q.    Do       you    know       what       time       that       was?
      23             A.    Around          12,    I    think.
      24             Q.    And       what    time       did       you       wake       up?
      25             A.    Maybe          two.
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                                                                                             Page 24
       1                                        D.    PARK
       2             Q.    And       were       you    a    witness                to    this
       3      incident?
       4             A.    No.
       5             Q.    And       when       you    woke          up       at    two,          was
       6      anybody          still       there?
       7             A.    I    don't       really          remember.                    I    just
       8      asked       the       waiter       to    get       me       a    cab       and       I
       9      just    left.
      10             Q.    And       do    you       know       who       paid          for       the
      11      bill    for       the       room       that       Young          Lee       was
      12      in?
      13             A.    It       was    Mr.       Hong,       I    didn't             ask
      14      but    obviously             it    must       be       Mr.       Hong.
      15             Q.    I    don't       want       you       to       guess,             do
      16      you    know       for       sure?
      17             A.    No.
      18             Q.    Did       you    speak          with       Mr.          Shin
      19      leading          up    to    this       deposition?                       Did       you
      20      tell    him       that       you       were       coming             in    today?
      21             A.    I    don't       think          so,       no,       no.
      22             Q.    When       was       the    last          time          you
      23      talked       to       him?
      24             A.    Few       weeks       ago       --    few          weeks          ago
      25      about,       you       know,       a    mutual          client.
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                                                                                    Page 25
       1                                        D.    PARK
       2             Q.    Okay.
       3             A.    He    was       inquiring          me    about       how
       4      they    are       doing       business.
       5             Q.    Okay.           So    how       many    clients          do
       6      you    have       in    common?
       7             A.    Five,          10,    between.
       8             Q.    And       so    are       you    still    doing
       9      business          with       him?
      10             A.    Not       with       him,       with    the    bank.
      11             Q.    With       the       bank?
      12             A.    Basically             my    clients       are
      13      borrowing          --       borrowed          money    from
      14      Noah    Bank.
      15             Q.    And       that's          about    five       or    10
      16      clients?
      17             A.    Yes.
      18             Q.    Did       you    give       any    written
      19      statements             to    Mr.       Basil    or    anybody          in
      20      his    law    firm?
      21             A.    About?
      22             Q.    This       incident.
      23             A.    No.
      24             Q.    Any       written          statements          or
      25      recorded          statements             about       this
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                                                                                             Page 26
       1                                              D.    PARK
       2      incident?
       3             A.       No.
       4             Q.       And       without             telling             me    what       was
       5      discussed,                when          was    the       first          time       that
       6      you    met          with       Mr.       Basil          about          this
       7      incident?
       8             A.       Few       weeks          after          that.
       9             Q.       What       happened?
      10             A.       I       believe          Mr.       Shin       went       to
      11      Mr.    Basil             and    that's             when       I       realized.
      12             Q.       What       did          you    realize?
      13             A.       That       Mr.          Shin       is    suing          the
      14      karaoke             bar.
      15             Q.       Okay.           And          did    Mr.       Shin       ask       you
      16      to    be    a       witness             in    this       lawsuit             for
      17      him?
      18             A.       No.
      19             Q.       Do       you    know          that       you've          been
      20      identified                as    a       witness          in       this
      21      lawsuit?
      22             A.       Yeah,          because             --    yeah,          Mr.    Basil
      23      told       me       I    may    have          to    be    on          deposition
      24      so    that's             when       I    realized,                I    may    be    one
      25      of    the       witnesses(sic).
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                                                                                       Page 27
       1                                     D.    PARK
       2             Q.    Okay.           And    what          are    you    a
       3      witness       to?
       4             A.    The       fact    that          I    was    there.
       5             Q.    And       how    many       other          meetings          did
       6      you    have       with       Mr.    Basil          after       that
       7      first       meeting?
       8             A.    About          this    incident?
       9             Q.    About          this    case.
      10             A.    Maybe          once.        I       don't    know.
      11             Q.    Okay.           When    was          that    second
      12      meeting?
      13             A.    I'm       not    sure       if       you    can    call       it
      14      a    meeting       because          we're          in    the    same
      15      suite       anyway.
      16             Q.    So    you       see    him          every    day?
      17             A.    Yes,       of    course.              I    was    told
      18      depositions             are    coming,             that's       it.
      19             Q.    You       were    told          what?
      20             A.    Deposition             --
      21             Q.    Oh,       depositions                are    coming?
      22             A.    So    I    just       asked          him,    let       me    know
      23      when.
      24             Q.    And       did    you    meet          with       Mr.    Basil
      25      or    anybody          in    his    firm          to    prepare          for
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                                                                                          Page 28
       1                                           D.       PARK
       2      today?
       3             A.       No,       they       just       told       me,       you    know,
       4      just       tell       them          what       happened.
       5             Q.       And       you       did       not    witness          the
       6      fall?
       7             A.       No.
       8             Q.       Okay.              All    right.
       9                      I'm       going          to    pass       it    to    you.
      10    EXAMINATION
      11    BY     MS.    NICOLAOU:
      12             Q.       Mr.       Park,          my    name       is    Carmen
      13      Nicolaou.                 I    represent             various          owners
      14      of    the       property             where          the    accident
      15      occurred,             I       just       have       some       follow-up
      16      questions.                    I'm    going          to    ask    that       you
      17      wait       until          I    finish          asking          the    question
      18      before          answering                it,    obviously             speak
      19      up,    you're             a    soft       spoken          gentleman,
      20      really          try       to       keep       your       voice       up    so   we
      21      can    hear       you          clearly          and       so    my
      22      Counselor             over          here       doesn't          have       to
      23      yell       at    you          to    raise       your       voice          because
      24      he    cannot          hear          you.
      25             A.       Okay.
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                                                                                    Page 29
       1                                     D.    PARK
       2             Q.    If    you    don't          understand          the
       3      question,          please       let       me    know,       I'll       be
       4      happy       to    rephrase          it.
       5                   I    understand             English       is    not       your
       6      primary          language,          right?
       7             A.    Yes.
       8             Q.    And    you're          comfortable             in
       9      English?
      10             A.    Yes.
      11             Q.    And    the    questions                that    were       just
      12      asked,       you    understand                everything          that
      13      was    asked       --
      14             A.    Yes.
      15             Q.    You    answered             truthfully          and
      16      honestly;          is    that       right?
      17             A.    Yes.
      18             Q.    Okay.        And       if    you       answer       my
      19      question          and    you    don't          tell    me    you
      20      don't       understand          it,       I    can    only       assume
      21      you    understood          it       so    it's       very
      22      important          to    let    me       know       when    you       don't
      23      understand          the    question.
      24             A.    Yes.
      25             Q.    Okay.        Mr.       Park,       I    understand
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                                                                              Page 30
       1                                     D.    PARK
       2      you    know       Mr.    Basil       for    about       10    years,
       3      correct?
       4             A.    Yes.
       5             Q.    And    the       connection,          so    to    speak,
       6      is    that       your    landlord,          so   to     speak?
       7             A.    Yes.
       8             Q.    And    you       rent    space      to     him    for
       9      his    firm;       is    that       right?
      10             A.    Yes.
      11             Q.    And    you've          known    Mr.      Shin     longer
      12      than    you've          known       Mr.    Basil;       is    that
      13      right?
      14             A.    Yes.
      15             Q.    Have       you    done       work   for     the    bank
      16      as    the    accountant?              And    the      "bank"
      17      meaning,          just    to    be    clear,       Noah       Bank?
      18             A.    A    couple       of    times.
      19             Q.    A    couple       of    times?
      20             A.    Yes.
      21             Q.    You've       also       done    work       for
      22      Mr.    Shin;       is    that       correct,       as    an
      23      accountant?
      24             A.    For    one       year.
      25             Q.    For    one       year?
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                                                                                    Page 31
       1                                        D.    PARK
       2             A.    Yes.
       3             Q.    And       in    addition          to    that,       you've
       4      referred          people          to    the    bank;       is    that
       5      right?        For       business;             is    that       right?
       6             A.    Couple          of    times,          yes.
       7             Q.    Yes.           And    you       also    --    do    you
       8      have    shares          in    Noah's          Bank(sic)?
       9             A.    No.
      10             Q.    Do    you       have       any    ownership
      11      interest          in    Noah       Bank?
      12                         MR.       COHEN:           Just       for    the
      13             record,          it's       Noah       Bank.
      14                         MR.       WEISSLER:              Can    you    spell
      15             Noah       Bank       for       us?
      16                         THE       WITNESS:              N-O-A-H.
      17                         MR.       WEISSLER:              Do    those
      18             initials             stand       for    anything          or
      19             Noah       Bank?
      20                         MS.       NICOLAOU:              Thank       you,
      21             Steve.           Anymore          questions?
      22                         MR.       WEISSLER:              I'll       save    it
      23             for    later.
      24             Q.    And       you've          known       Mr.    Shin    for       15
      25      years?
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                                                                                   Page 32
       1                                       D.    PARK
       2             A.   Yes.
       3             Q.   And    so       it    would       be    fair       to    say
       4      that    you've         done       work       for    Mr.    Shin       and
       5      Noah    Bank      in    the       past       15    years?
       6             A.   Only       on    the       few    occasions.
       7             Q.   The    few       occasions?
       8             A.   Yeah.
       9             Q.   Done       work       for    them,       right?
      10             A.   Yeah.
      11             Q.   Okay.           And       what    is    your
      12      understanding               of    Mr.    Basil's
      13      relationship            with          Noah    Bank?
      14             A.   I    mean,       my       understanding,                when
      15      bank    has      any    problems,             uncollectible
      16      loans,      I    think       that       Mr.       Shin    hired
      17      Mr.    Basil      as    an       outside          lawyer(sic).
      18             Q.   As    an    outside          attorney          to       handle
      19      those?
      20             A.   Correct.
      21             Q.   So    your       understanding                is    that
      22      Mr.    Basil      also       represents             Noah       Bank    in
      23      various         legal       matters;          is    that       right?
      24             A.   Yes.
      25             Q.   And    you've             known       this    since       --
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                                                                                             Page 33
       1                                           D.    PARK
       2      you've          known          this       since          you've          known
       3      Mr.       Basil;          is       that    right?
       4                A.    Yes.
       5                Q.    Did       you       introduce             Mr.       Basil       to
       6      Noah       Bank       or       was       that       relationship
       7      already             established                by       the       time    you
       8      already             met    Mr.       Basil?
       9                A.    I    don't          remember.                 I    think       they
      10      already             known          each    other.
      11                Q.    Now,       you       testified                that       you    went
      12      to    a    restaurant,                   I'm       not    going          to
      13      repeat          the       name       but       a    restaurant                that
      14      evening             with       a    group          of    individuals
      15      including             Mr.          Young       Lee       and       Mr.    Hong;
      16      is    that          right?
      17                A.    Yes.
      18                Q.    And       that's          the       first          time       you
      19      met       Mr.       Young          Lee,    correct?
      20                A.    Yes.
      21                Q.    And       it       was    your          understanding
      22      that       Mr.       Young          and    Mr.          Lee       have    some
      23      sort       of       business             relationship?
      24                A.    Friends,             yes.
      25                Q.    Friends?
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                                                                                          Page 34
       1                                        D.       PARK
       2             A.    More       of       friends.
       3             Q.    More       friends             than          business?
       4             A.    Right.
       5             Q.    What       does       Mr.       Hong          do?
       6             A.    Hong       is       running             a    salad       bar.
       7             Q.    What's          your          understanding                   to
       8      what    Mr.       Lee    does,             and       I'm    referring                to
       9      Mr.    Young       Lee?
      10             A.    I    didn't          know       what          he    was       doing
      11      when    I    first       met       him       that          night.           My
      12      assumption          was          pretty          much       everybody                in
      13      the    group       was       running             a       salad       bar,       so    I
      14      thought          maybe       he    was       running             a    salad
      15      bar.
      16             Q.    Do    you       run       a    salad          bar?
      17             A.    No.
      18             Q.    You    just          do       accounting                work?
      19             A.    Yes.
      20             Q.    You're          a    CPA?
      21             A.    Yes.
      22             Q.    Now,       how       many       drinks             did    you
      23      have    at       dinner          that       night?
      24             A.    Maybe       couple             of       bottles          of    Soju.
      25             Q.    Soju.           And       when          you    say,       "a
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                                                                                          Page 35
       1                                        D.    PARK
       2      couple"          are    you       referring             to       a    few
       3      bottles          --
       4             A.    I    --
       5             Q.    Let       me    finish          my    question.                 When
       6      you    say       "a    couple"          are       you    referring                to
       7      a    few    or    something             else?
       8             A.    Maximum             of    two    bottles.
       9             Q.    The       Soju,          how    are       they          served?
      10             A.    The       small          bottles,          something
      11      like       this       (indicating).
      12             Q.    A    16    ounce          bottle?
      13             A.    It's       a    little          bigger          I       think.
      14      With       the    small          glasses,          they          come       out
      15      to    about       seven          shots.
      16             Q.    Every          bottle          fills       about          seven
      17      shots?
      18             A.    Seven,          eight.
      19             Q.    So       you    had       at    dinner
      20      approximately                16       shots       of    Soju          vodka?
      21             A.    Roughly,             yes.
      22             Q.    And       just       to    be    clear,             because
      23      I'm    not       familiar             with    the       vodka,          so
      24      forgive          me    if    I    ask       you    questions                that
      25      sound       stupid          to    you,       it's       because             I'm
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                                                                                    Page 36
       1                                        D.       PARK
       2      ignorant          to       how    they're          served       or    what
       3      kind    of       bottles          they're          in.       Just     to    be
       4      clear,       is    the          Soju       vodka       for   each
       5      individual             person?              So,    in    other       words,
       6      you    order       it       yourself             and    it's    for
       7      yourself          or       is    it    a    bottle       for    the
       8      entire       table          or    something             else?
       9             A.    We    share.
      10             Q.    You       share?
      11             A.    Share          the       bottle.
      12             Q.    So    to       be    clear,          you    had    about       14
      13      shots       of    vodka          that       night?
      14             A.    Yes.
      15             Q.    So    based          on       the    14    --   let     me    ask
      16      you    this,       did          you    drink       anything          else?
      17             A.    No,       I    don't          think       so.
      18             Q.    Just          vodka?
      19             A.    Yeah.
      20             Q.    You       didn't          water       it    down?
      21             A.    A    little          bit.
      22             Q.    Pretty             much       vodka?
      23             A.    Yes.
      24             Q.    You       consumed             two    bottles?
      25             A.    Yes.
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                                                                                       Page 37
       1                                        D.       PARK
       2             Q.    So    would          it       be    fair       to    say    that
       3      when    you       left       that          restaurant             that
       4      night       to    go    to       the       karaoke          bar,       you
       5      were    drunk?
       6             A.    Yes.
       7             Q.    And       you       had       a    hard       time    staying
       8      on    your       feet?
       9             A.    Yes.
      10             Q.    Okay.           And       how       many       people       were
      11      you    with       at    the       dinner             table?
      12             A.    Roughly             10.
      13             Q.    10    people.                 And       where       was
      14      Mr.    Lee       sitting?              Let       me    ask       you    this,
      15      was    it    a    round          table,          small       table?
      16             A.    Something                like       this
      17      (indicating).
      18             Q.    Like       a    conference                room       long
      19      table?
      20             A.    Yeah,          in    a    restaurant.
      21             Q.    And       where          was       Mr.    Lee       sitting?
      22             A.    I    believe             he       was    right       in    front
      23      of    me.
      24             Q.    Do    you       have          a    specific
      25      recollection                that       night          of    those
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                                                                                       Page 38
       1                                        D.    PARK
       2      details          of    where          precisely          he    was
       3      sitting?
       4             A.    Probably             for    me,       because          I
       5      remember          I    been       talking          to    him       while       I
       6      was    eating          so       must    be    in    front.
       7             Q.    Okay.              And    you    testified             that
       8      you    observed             him       drinking          shots,          right?
       9             A.    Yes.
      10             Q.    Was       it       the    same    shots          you       were
      11      drinking?
      12             A.    Yes.
      13             Q.    And       did       you    provide          a    number         as
      14      to    how    many          you    observed          him       drink?
      15             A.    If       --    I    mean.
      16             Q.    I    don't          want    you       to    guess,          sir,
      17      it's    what          you       know    and    what          you
      18      remember          from          that    night.
      19             A.    At       least       five,       more       than       five.
      20             Q.    More          than       five?
      21             A.    At       least.
      22             Q.    So       when       you    were       drinking             14
      23      shots       of    Soju          vodka,       you    remember
      24      Mr.    Lee       drinking             four    to    five       shots         of
      25      vodka?
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                                                                             Page 39
       1                                    D.    PARK
       2             A.   Yes,     minimum.
       3             Q.   You    were       counting          it?
       4             A.   No.
       5             Q.   Do    you    have       a    bill    from       that
       6      night?
       7             A.   No.
       8             Q.   Who    paid       the       dinner    that       night?
       9             A.   I    don't       know.
      10             Q.   Who    paid       the       dinner?
      11             A.   I    don't       know.
      12             Q.   You    didn't?
      13             A.   No.
      14             Q.   Did    Mr.       Hong?
      15             A.   Maybe,       I    don't       know.
      16             Q.   So    you    left       without       even       paying
      17      dinner?
      18             A.   Right.
      19             Q.   And    you       don't       know    who    covered
      20      that    tab?
      21                        MR.    COHEN:           Object       to    the
      22             form.
      23             A.   No.
      24             Q.   There       was    a    bill    there,          right?
      25             A.   Yeah,       I'm    sure.
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                                                                                 Page 40
       1                                     D.    PARK
       2             Q.    You    weren't          sitting          there       for
       3      free?
       4             A.    No.
       5             Q.    Do    you       know    who       owns    the
       6      restaurant          you       were       at?
       7             A.    No.
       8                         MS.       BERKOWITZ:              Did    we    get
       9             an    address?
      10                         MR.       WEISSLER:           Northern
      11             Boulevard?
      12             A.    I    can    get       it,    do    you    want       me    to
      13      get    it?
      14                         MS.       BERKOWITZ:              Yes.
      15                         MR.       COHEN:        Okay.           The
      16             address          is    138-20       Northern
      17             Boulevard,             Flushing,          New       York
      18             11354,       and       the    name       of    the
      19             restaurant             is    Kum    Gang       San,
      20             K-U-M,       G-A-N-G,             S-A-N.
      21                         MS.       NICOLAOU:           N    as    in
      22             Nancy?
      23                         MR.       COHEN:        N    as    in    Nancy.
      24             Q.    Do    you       know    who       owns    that
      25      restaurant?
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                                                                                       Page 41
       1                                           D.    PARK
       2             A.    No.
       3             Q.    Is       that       a       restaurant          that       you
       4      frequent          all       the          time?
       5             A.    Once       in       a       while,       yes.
       6             Q.    Okay.           And          at    that    point          you,
       7      Mr.    Hong,          and    Mr.          Lee    left       in    the    car,
       8      did    you       go    to    the          karaoke       bar?
       9             A.    Yes.
      10             Q.    Did       anybody             else       accompany          you?
      11             A.    No.
      12             Q.    Other          than          the    three       of    you?
      13             A.    No.
      14             Q.    Who       drove?
      15             A.    The       --    one          of    the    person          who
      16      was    --    who       had       the       dinner       together,             he
      17      dropped          us    off       on       his    way    home(sic).
      18             Q.    What's          his          name?
      19             A.    No       idea,          I    don't       know.
      20             Q.    You       don't             know    who    he       is?
      21             A.    No.
      22             Q.    Was       it    a       group       of    10    people          --
      23      you    guys       were       all          men,    right?
      24             A.    Yeah.
      25             Q.    A    group          of       10    men    came       to    go    out
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                                                                                    Page 42
       1                                        D.    PARK
       2      to    dinner       at       this       restaurant             that
       3      night?
       4             A.    I    thought          it    was       Mr.    Hong's
       5      friend's          gathering,             I    was       the    only    one
       6      who    knew       in    the       group       on    that       night.
       7             Q.    Were       you       invited          --
       8             A.    By    Mr.       Hong.           He    was    having
       9      dinner       with       his       friends          and    he    said       we
      10      should       have       dinner          together,             maybe    we
      11      can    introduce             some       people,          that's       what
      12      happened.
      13             Q.    So    it       was    more       of    a    come    by,
      14      have    dinner          with       my    friends,             maybe    you
      15      can    get       some       business?
      16             A.    Right.
      17             Q.    Okay.           And       then       when    you    were
      18      dropped          off    at    this       karaoke          bar,       had
      19      you    been       to    the       karaoke          bar    before       that
      20      night?
      21             A.    Before          --    yes.
      22             Q.    Would          you    consider             yourself       a
      23      regular          patron       of       this       karaoke       bar?
      24             A.    Once       a    month.
      25             Q.    Are       you    a    member?
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                                                                                Page 43
       1                                    D.    PARK
       2             A.   No.
       3             Q.   How    do    you       go    once    a    month       if
       4      you're      not    a    member,          do    you    go    as
       5      someone's         guest?
       6             A.   Visitor,          I    don't       think       it's    a
       7      membership         club.
       8             Q.   It's       not?
       9             A.   You    can    just          walk    in.
      10             Q.   Do    you    know       if    reservations             were
      11      made    for      the    karaoke          bar?
      12             A.   If    the    reservation             was       made    on
      13      that    night?
      14             Q.   For    that       night,          when    you    went.
      15             A.   I    don't    know.
      16             Q.   Whose       idea       was    it    to    go    to    the
      17      karaoke         bar?
      18             A.   Mr.    Hong.
      19             Q.   You    gone       to    the       karaoke       bar    with
      20      Mr.    Hong      before?
      21             A.   No.
      22             Q.   And    how    long          have    you    known
      23      Mr.    Hong?
      24             A.   At    the    time,          about    two       years
      25      maybe.
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                                                                                       Page 44
       1                                        D.       PARK
       2             Q.    And       how       do    you       know    him?
       3             A.    I    was       introduced             by    --    I       don't
       4      know    --       somebody             to    do    accounting             work
       5      for    his       business.
       6             Q.    Okay.           So       you're       Mr.       Hong's
       7      accountant             for       his       salad       bar    business?
       8             A.    Yes.
       9             Q.    You       still          are    today?
      10             A.    Yes.
      11             Q.    And       in    order          to    go    into       the
      12      karaoke          bar,       did       you    go    up    the       stairs?
      13             A.    Yes,       we       walked          up.
      14             Q.    Are       you       aware       whether          or       not    if
      15      there's          an    elevator             in    that       building?
      16             A.    There's             something             that    looks
      17      like    an       elevator             but    I    don't       know       if
      18      it's    working             so    we       just    walked          up.
      19                            MS.    BERKOWITZ:                 Move       to
      20             strike          anything             that's       not
      21             responsive.
      22                            MS.    NICOLAOU:                 Yeah,       I    join.
      23             Q.    Mr.       Park,          when       you    had    visited
      24      the    karaoke          bar       on       prior       occasions,             did
      25      you    always          take       the       staircase?
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                                                                                    Page 45
       1                                     D.       PARK
       2             A.    Yes.
       3             Q.    Was    there          ever       a    time       where    you
       4      used    the       elevator?
       5             A.    No.
       6             Q.    Okay.           And    I    believe          you    said
       7      you    went       upstairs          with          Mr.    Hong    and
       8      Mr.    Lee?
       9             A.    Yes.
      10             Q.    Was    Mr.       Hong       intoxicated?
      11             A.    Yes.
      12             Q.    Do    you       know       how       much    he    had    to
      13      drink?
      14             A.    About       same       as    me.
      15             Q.    About       14    glasses             --    shot    glasses
      16      of    Soju?
      17             A.    Maybe       a    little,             yes,    but.
      18             Q.    Let    me       finish       my       question.           This
      19      is    not    a    conversation                okay.
      20             A.    Okay.
      21             Q.    So    your       recollection                was    that
      22      you    were       intoxicated,                Mr.       Lee    was    --
      23      Young       Lee    was       intoxicated,                Mr.    Hong       was
      24      intoxicated?
      25             A.    Yes.
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                                                                                    Page 46
       1                                        D.       PARK
       2                Q.    How    long       did       it    take    you       from
       3      the       restaurant             to    the       karaoke       bar    --    to
       4      get       to    the    kareoke             bar?
       5                A.    It's       maybe       five       minutes,          it's
       6      not       too    far.
       7                Q.    Okay.        And       when       you    reached          the
       8      stairs,          I    believe          you       said    you       were    met
       9      by    a    waiter?
      10                A.    Yes.
      11                Q.    And    you       were       greeted       and       you
      12      were       brought          into       a    room?
      13                A.    Yes.
      14                Q.    Okay.        Do       you    know       who    --
      15      withdrawn.
      16                      When       you    arrived          to    that       room,
      17      was       there       anybody          physically             in    there
      18      at    that       point?
      19                A.    As    we    walked          in?
      20                Q.    Yes.
      21                A.    No.
      22                Q.    It    was    empty?
      23                A.    Yeah.
      24                Q.    You    were       the       first       three       people
      25      to    walk       into       that       room?
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                                                                                Page 47
       1                                     D.    PARK
       2             A.    Yes.
       3             Q.    And    then       there       came    a    point       in
       4      time       where    a    delivery          was    made       of   food?
       5             A.    Food       then    the       drink.
       6             Q.    Do    you    know       if    anybody          ordered
       7      those?
       8             A.    Mr.    Hong.
       9             Q.    Mr.    Hong?
      10             A.    Yeah.
      11             Q.    Okay.        And       how    many    Johnnie
      12      Walkers          were    served?
      13             A.    Two    bottles.
      14             Q.    At    one    shot?
      15             A.    No,    no.        After       finishing          one,       we
      16      had    a    second.
      17             Q.    A    second       bottle?
      18             A.    Yeah.
      19             Q.    And    how    long       were       you    in    that
      20      room       when    somebody          else    joined          you?
      21             A.    10    minutes,          10,    15    minutes.
      22             Q.    Who    joined          you    after       10    minutes?
      23             A.    The    girls       who       were    working         at
      24      the    karaoke          bar.
      25                         MR.    WEISSLER:              I'm    sorry?
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                                                                                 Page 48
       1                                  D.       PARK
       2                         MS.    NICOLAOU:              "The       girls
       3             who    were       working       in    the       karaoke
       4             bar."
       5             Q.    You    refer       to    them       as    the
       6      "service          girls,"       right?
       7             A.    Yes.
       8             Q.    To    your    understanding,                   these
       9      girls       job's    to    sit       next    to       you    and    pour
      10      drinks?
      11             A.    Yes.
      12             Q.    And    they    provide          no       other
      13      service       other       than       pouring          drinks?
      14             A.    No    other    service.
      15             Q.    Are    those       women       prostitutes?
      16             A.    Not    that    I    know.
      17             Q.    Did    they    perform          any       sexual       acts
      18      to    you    or    anybody       in    the       room?
      19             A.    No.
      20             Q.    And    they    stayed          in    that       room,
      21      right?
      22             A.    Yes.
      23             Q.    And    they    sat       next       to    you    and
      24      they    reached          over    and    they          handed       you
      25      the    drinks       and    poured       you       the       drink?
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                                                                                       Page 49
       1                                        D.    PARK
       2             A.    Yes.
       3             Q.    And    that's             all    they       did?
       4             A.    We    sang.
       5             Q.    They       sang?
       6             A.    Karaoke          bar.
       7             Q.    So    you    actually                did    karaoke?
       8             A.    Yes.
       9             Q.    That's       the          first       one    I    heard.
      10      After       the    server          girls          came    in    10,       15
      11      minutes       later,          when          was    the    next       time
      12      somebody          else    came          into       that       room?
      13             A.    Waiter,          I    think,          waiter.
      14             Q.    Okay.
      15             A.    They       came       to       see    if    we    needed
      16      anything          else.
      17             Q.    When       the       waiter          came    in    to       see
      18      if   you     needed       anything                else,       did    you
      19      tell    them       you    did          or    didn't?
      20                         MR.    COHEN:              Objection             to    the
      21             form.
      22             Q.    What       did       you       tell    them?
      23             A.    If    we    needed             more    food,       ice,
      24      water.
      25             Q.    At    what       point          did    Mr.       Shin       enter
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                                                                                       Page 50
       1                                        D.    PARK
       2      your    room?
       3             A.       It    was    about          20,       30    minutes
       4      after       I    met       him    in    the       restroom.
       5             Q.       Okay.        So       how    long          were    you       in
       6      that    room          before          you    physically                left
       7      that    room          to    go    to    the       restroom?
       8             A.       Probably          about          an    hour.
       9             Q.       So    you    were       in       that       room       for    an
      10      hour.           And    in    that       room          for    an    hour,          I
      11      want    to       know,       how       many       drinks          did    you
      12      have?
      13             A.       Maybe       five       glasses.
      14             Q.       Five       glasses          of    whisky,          right?
      15             A.       Yeah.
      16             Q.       And    at    that       point          did       you    finish
      17      the    bottle          --    by       the    time          you    left       the
      18      room,       did       you    finish          the       bottle?
      19             A.       One    hour,          no,    I    don't          think       so.
      20             Q.       So    you,       alone,          maybe       had       five
      21      glasses          of    Soju?
      22             A.       Right.
      23             Q.       And    how       do    you       drink       your
      24      whisky?
      25             A.       On    the    rocks.
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                                                                             Page 51
       1                                     D.   PARK
       2             Q.    On    the    rocks?
       3             A.    Yeah.
       4             Q.    And    the       glasses,      they       call    them
       5      ball    --
       6                         MR.    COHEN:        Highball.
       7             Q.    Are    they       Highball      glasses?
       8             A.    (Indicating.)
       9                         MS.    BERKOWITZ:          Indicating
      10             with       his    hand.
      11             Q.    They're          basically      round?
      12             A.    Right.
      13             Q.    And    they're         round    glasses          that
      14      are    about       three       to   four    inches       from    the
      15      bottom       to    the    top,      giver    or    take?
      16             A.    Right.
      17             Q.    They're          usually      used    for    things
      18      like    whisky;          is    that   right?
      19             A.    Yes.
      20             Q.    Have       you    ever   heard       of    the    term
      21      "Highball"?
      22             A.    No.
      23             Q.    And    you       drank   five    of       those;    is
      24      that    right?
      25             A.    Yes.
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                                                                                      Page 52
       1                                       D.    PARK
       2             Q.      And       this    is    in       addition          to    the
       3      14   shots          of    vodka?
       4             A.      Yes.
       5             Q.      Do    you       usually          drink       this       much?
       6             A.      No,       that    was       more       than    I    can
       7      handle         that       night.
       8             Q.      When       you    normally             drink,       how
       9      much      do    you       drink?
      10             A.      One       bottle       of    Soju.
      11             Q.      Would       it    be    fair       to    say       that      the
      12      amount         of    alcohol          you       had    that       evening
      13      is   an     unusual            amount?
      14             A.      Yes.
      15             Q.      Something          you       don't       normally
      16      have?
      17             A.      Right.
      18             Q.      Something          you're          not       used       to
      19      having?
      20             A.      Yes.
      21             Q.      And       you're       how       tall?
      22             A.      5'4.
      23                           MR.       WEISSLER:              How    tall?
      24                           THE       WITNESS:           5'4.
      25             Q.      And       how    much       do    you    weigh?
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                                                                                      Page 53
       1                                           D.    PARK
       2             A.    170.
       3             Q.    Is       that       how       much       you    weighed
       4      back    in       2017?
       5             A.    About.
       6             Q.    14       glasses             of    vodka,       five
       7      glasses          of    whisky,             did    you       have
       8      anything          else          to    drink?
       9             A.    No.
      10             Q.    Was       there          beer       on    that       table?
      11             A.    I    don't          remember             but    I    don't
      12      think       so.
      13             Q.    Have          you       ever       heard       of    Coors
      14      Light       and       whisky          being       mixed          together?
      15             A.    Yes.
      16             Q.    Is       that       something             that       you've
      17      normally          seen          done?
      18             A.    I    seen          it    but       not    no    more.
      19             Q.    Do       you       do    that?
      20             A.    I    have.
      21             Q.    Does          it    taste          good?
      22             A.    No.
      23             Q.    I    didn't             think       so.    But       you   don't
      24      recall       seeing             Coors          Light,       right?
      25             A.    No,       I    don't          think       so.
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                                                                                         Page 54
       1                                           D.    PARK
       2             Q.       Okay.           And       you   --    after       having
       3      14    shots          of    vodka,          five      glasses          of
       4      whisky,             you    leave          the   room,       go    to       the
       5      bathroom,             would          you    say      you    were       more
       6      drunk       at       that       point       then      you    were          when
       7      you    arrived?
       8             A.       Yes.
       9             Q.       And       did       you    bump      into    Mr.       Shin
      10      on    your          way    to       the    bathroom         or    when       you
      11      were    in          the    bathroom?
      12             A.       I    think          it    was   on    my    way       to    the
      13      restroom.
      14             Q.       You       remember          seeing         him    in       the
      15      hallway?
      16             A.       Yes,       in       the    restroom.
      17             Q.       You       saw       him    in   the    bathroom?
      18             A.       Yes.
      19             Q.       And       at    that       point,      did       you       then
      20      invite          him       to    come       to   your       room?
      21             A.       No.
      22             Q.       You       never          said   come       back       to    my
      23      room,       I       want       to    introduce         you       to    Young
      24      Lee?
      25             A.       Right,          never       said      that.
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                                                                                    Page 55
       1                                        D.    PARK
       2             Q.    Did       you       greet       him?
       3             A.    Yes.
       4             Q.    How       did       Mr.    Shin       look?
       5             A.    Drunk.
       6             Q.    If       you    were       to    gauge       who    was
       7      more    drunk,             who    would       it    have    been,          you
       8      or    him?
       9             A.    About          the    same.
      10             Q.    About          the    same?
      11             A.    Yeah.
      12             Q.    And       at    that       point       you    left       and
      13      you    went       straight             back    to    your       room?
      14             A.    Yes.
      15             Q.    And       I    believe          you    said    Mr.       Shin
      16      stopped          you?
      17             A.    No,       he    didn't          follow       me,    he    came
      18      maybe       20    minutes          later       to    my    room
      19      because          we    were       basically          next       to    each
      20      other,       he       was    in    the       next    room       so.
      21             Q.    Okay.
      22             A.    I    knew       I    was    there,       he    knew       I
      23      was    here.
      24             Q.    So       20    minutes          later,       Mr.    Shin       --
      25      after       you       returned          to    your    room       --
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                                                                                          Page 56
       1                                     D.       PARK
       2      Mr.    Shin       enters       your          room,          so    would          it
       3      be    fair    to    say       at       that          point       you       were
       4      in    the    room       for    about             an    hour       and       a
       5      half?
       6             A.    Yes.
       7             Q.    And    what       does          he       do    when       he
       8      enters?
       9             A.    Just       say,       "Hello,"                it's    obvious
      10      I    introduced          Mr.       Hong          --    Mr.       Lee       to
      11      Mr.    Shin,       they       say       hello          to    each          other,
      12      I    start    having          some       conversations.
      13             Q.    You    have       conversations.                          When
      14      Mr.    Shin       entered          that          room       20    minutes
      15      later,       was    he    holding                a    drink       in       his
      16      hand?
      17             A.    No,    I    don't          think          he    brought             any
      18      drink.        Maybe       --       I    think          we    gave          him    a
      19      drink.
      20             Q.    Okay.        So       you       poured          him       a    drink
      21      in    the    same       glass          you       were       using?
      22             A.    Yeah.
      23             Q.    How    did       he       drink          his    whisky?
      24             A.    On    the    rocks,             I       think.
      25             Q.    You    specifically                      remember?
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                                                                                    Page 57
       1                                        D.    PARK
       2             A.    Yes,       yes.
       3             Q.    He       had    it    on    the    rocks?
       4             A.    Yes.
       5             Q.    But       you    didn't          remember       seeing
       6      Coors       Light,          right?
       7             A.    No,       it    was       Johnnie       Walker       Blue.
       8             Q.    I'm       sorry?
       9             A.    It       was    Johnnie          Walker       Blue.
      10             Q.    I    didn't          --
      11                            MS.    BERKOWITZ:              Johnnie
      12             Walker          Blue.
      13             Q.    And       how    long       did    he    stay       in    your
      14      room    for       once       he    arrived?
      15             A.    15,       20    minutes.
      16             Q.    Not       long?
      17             A.    Not       too    long.
      18             Q.    And       then       --    did    somebody          come
      19      get    him       or    did    he       just    get    up    and       leave
      20      on    his    own?
      21                            MR.    COHEN:           Objection          to    the
      22             form.
      23             Q.    How       did    he       leave?
      24                            MS.    NICOLAOU:           So    he    didn't
      25             stay       in    his       room    for    over       20
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                                                                              Page 58
       1                                  D.    PARK
       2             minutes       so    I'm    not      sure     what's
       3             wrong       with    the    form       of    the
       4             question.
       5                         MR.    WEISSLER:           Break       up    the
       6             two       questions.
       7             Q.    How    did    Mr.    Shin       leave       the    room?
       8                         MR.    COHEN:        If    you    know.
       9             Q.    Obviously          everything          is    based       on
      10      what    you       remember,       doesn't          need    to    be
      11      told.
      12             A.    I    think    somebody          came    to    get
      13      him.
      14             Q.    Somebody       came      to     get    him?
      15             A.    Yes.
      16             Q.    Do    you    know    who?
      17             A.    Probably       John      --     John    Kim.
      18             Q.    How    do    you    know      John     Kim?
      19             A.    He    was    working       in    the    bank.
      20             Q.    How    long    have      you     known       him?
      21             A.    If    you    ask    me   number        of    years,
      22      maybe       five.
      23             Q.    Do    you    have    any      business
      24      accounts          with    Noah    Bank?
      25             A.    No.
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                                                                                    Page 59
       1                                        D.    PARK
       2             Q.    Do    you       have       any    financial          loans
       3      with    them?
       4             A.    No.
       5             Q.    Anything             like       that,    personal
       6      loans?
       7             A.    Nothing.
       8             Q.    Okay.           And       you    recall       John       Kim
       9      walking       into          that       room,    came       to    get       him
      10      to    leave?
      11             A.    Right.
      12             Q.    And       at    that       point       you    were
      13      awake;       fair       to    say?
      14             A.    Fair       to    say,       yes.
      15             Q.    So    you       have       that    recollection
      16      even    though          you       were       barely       awake,       that
      17      somebody          came       in    to    take       Mr.    Shin       out
      18      and    that       somebody             being    Mr.       John    Kim;
      19      is    that    right?
      20             A.    Yes.
      21             Q.    And       at    that       point,       when       you    saw
      22      John    Kim       walk       in    and       asked    Mr.       Shin       to
      23      come    out       with       him,       how    many       drinks       did
      24      you    have       at    that       point       in    total?           So    we
      25      already       have          the    five;       how    many       more
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                                                                                 Page 60
       1                                     D.    PARK
       2      did    you    have       after       that?
       3             A.    Maybe       three       more       or    two    more,
       4      not    much.
       5             Q.    Is    there       a    point       in    time    where
       6      you    just       stopped          counting          how    many
       7      drinks       you    had?
       8             A.    From       the    beginning             don't
       9      count(sic).
      10             Q.    You    don't          normally          pay
      11      attention?
      12             A.    No.
      13             Q.    Is    it    fair       to    say    the       numbers
      14      you're       giving       me,       the    14    shots,       the
      15      five    to    seven       or       eight       drinks,       is    a
      16      best    ability          for       you    to    estimate?
      17             A.    Yes.
      18             Q.    So    you    don't          specifically
      19      remember          how    many       drinks       that       you    had?
      20             A.    Right.
      21             Q.    You    don't          specifically             remember
      22      down    to    the       last       glass       how    many    drinks
      23      Mr.    Lee    had;       is    that       right?
      24                         MR.    COHEN:           Objection          to       the
      25             form.
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                                                                                    Page 61
       1                                     D.    PARK
       2             A.    I    would       not    count.
       3             Q.    I'm       sorry?
       4             A.    I    did    not    count.
       5             Q.    So    you    didn't       sit       there,          here's
       6      number       one,       here's       number       two,          here's
       7      number       three;       is    that       right?
       8                         MR.    COHEN:           Objection             to    the
       9             form.
      10             A.    Right.
      11             Q.    So    is    it    fair    to       say       at    one
      12      point       in    time    you       stopped       paying
      13      attention          to    what       everybody             was
      14      drinking;          is    that       right?
      15             A.    I    fell    into       sleep.           I    think
      16      after       Mr.    Shin       left.
      17             Q.    I    understand          you       fell       asleep       and
      18      that's       because          you    had    drank          too       much
      19      alcohol;          is    that    right?
      20             A.    Yes.
      21             Q.    Not       what    you're       usually             used    to
      22      drinking;          is    that       right?
      23             A.    Yes.
      24             Q.    So    in    addition          to    the       14    shots
      25      of   Soju,        excuse       me,    and       about          the    eight
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                                                                                 Page 62
       1                                        D.    PARK
       2      glasses          of    whisky,          did       you    have
       3      anything          else       at    that       point,       any    other
       4      --
       5             A.    Any       other       drinks?
       6             Q.    Yes.
       7             A.    No.
       8             Q.    How       many       Johnnie          Walker       Blues
       9      were    ordered             for    that       room?
      10             A.    I    think       it       was    two.
      11             Q.    Who       ordered          the       second       bottle?
      12             A.    I    don't       remember.
      13             Q.    And       Mr.    Hong       ordered          the    first
      14      one,    right?
      15             A.    Assume          it    was       Mr.        Hong.
      16             Q.    How       many       drinks          did    you    pour    for
      17      yourself?
      18             A.    Nothing.
      19             Q.    So       those       women       that       were    sitting
      20      next    to       you    poured          every          single    drink?
      21             A.    Pretty          much       or    Mr.       Hong(sic).
      22             Q.    Mr.       Hong       poured          his    own    drinks?
      23             A.    No,       he    poured          me    a    drink.
      24             Q.    How       many       drinks          did    Mr.    Hong
      25      pour    you?
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                                                                                      Page 63
       1                                        D.    PARK
       2             A.    I    only       remember             two   --    about
       3      two.
       4             Q.    And       about       what       time      did       Mr.    Kim
       5      come    to       get    Mr.       Shin;       what      time       was
       6      that?
       7             A.    My    best          estimate          is   about       11:30
       8      or    12.
       9             Q.    11:30          or    12?
      10             A.    Right,          because          I    thought         they
      11      were    coming          to       leave,       that's         what       my
      12      impression             was.
      13             Q.    And       did       you    say       "bye"      to
      14      Mr.    Shin?
      15             A.    Yes.
      16             Q.    And       that       was    the       last      time       you
      17      saw    him?
      18             A.    That       night,          yes.
      19             Q.    So    because             you    said,       "Bye"         to
      20      him,    and       it    was       the    last       time      you       saw
      21      him,    would          it    be    fair       to    say      at    that
      22      point       when       Mr.       Shin    left       your      room       you
      23      were    still          awake?
      24             A.    Yes.
      25             Q.    You       were?
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                                                                           Page 64
       1                                     D.    PARK
       2             A.    Yes.
       3             Q.    And    your       testimony       was    at    one
       4      point       you    fell       asleep    on    the    couch?
       5             A.    Yes.
       6             Q.    And    at    that       point,    how    many
       7      drinks       had    you       consumed?
       8                         MR.    COHEN:        Objection;          asked
       9             and    answered.
      10                         MS.    NICOLAOU:           No,    it
      11             wasn't,          but    note    your    objection.
      12             A.    About       seven,       eight    glasses.
      13             Q.    That's       pretty       much    all    you
      14      consumed?
      15             A.    Yes.
      16             Q.    And    when       you    woke    up,    it    was
      17      about       two    in    the    morning?
      18             A.    Yes.
      19             Q.    And    then       you    left?
      20             A.    Yes.
      21             Q.    And    when       you    left,    did    you    take
      22      the    stairs       down?
      23             A.    Yes.
      24             Q.    Were       you    still    drunk?
      25             A.    Yes.
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                                                                                          Page 65
       1                                        D.    PARK
       2             Q.    And       would       it    be       fair       to    say       that
       3      you    had       no    problem          using       the       stairs
       4      that    night?
       5                            MR.    COHEN:           Objection                to    the
       6             form.
       7             Q.    Taking          into       consideration                   your
       8      intoxicated                state       when       you    arrived             and
       9      when    you       left,          would       it    be    fair          to    say
      10      that    you       were       still       able       to       maneuver          up
      11      and    down       that       staircase?
      12                            MR.    COHEN:           Objection                to    the
      13             form.
      14             A.    I    think          the    waiter          helped          me    get
      15      downstairs.
      16             Q.    Because             you    were       drunk?
      17             A.    Right.
      18             Q.    Okay.           Fair       enough.
      19                   But       when       you    were       going          up,       you
      20      were    able          to    do    it    on    your       own?
      21             A.    Yes.
      22             Q.    Okay.           Do    you       know
      23      Mr.    Chung          Lee?
      24             A.    Chung          Lee    is    the       owner          of    the
      25      building          --       the    new    owner          of    the
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                                                                                      Page 66
       1                                       D.    PARK
       2      building.
       3                        MR.       WEISSLER:                 Can    you    read
       4             back      the    answer?
       5                        (Whereupon,                the       record       was
       6             read      by    the       reporter.)
       7             Q.   Did       you    know          Chung       Lee    that
       8      night?
       9             A.   I    knew       him       before          that    night.
      10             Q.   How       long       have       you       known
      11      Mr.    Chung      Lee       for?
      12             A.   Maybe       one       year.
      13             Q.   How       long       --    oh,       by    that       time    it
      14      was    about      a    year       you've          known       him?
      15             A.   Yes,       yes.
      16             Q.   Okay.           And       how    do       you    know
      17      Mr.    Chung      Lee?
      18             A.   I    have       my    school          friend          who    is
      19      pretty      close       to       Mr.       Lee    so    I    met    him       a
      20      couple      of    times.
      21             Q.   Do    you       have       a    business
      22      relationship            with          Mr.    Lee?
      23             A.   No.
      24             Q.   So    you've          never          been       his
      25      accountant            whether          personally             or
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 68 of 101 PageID #: 679


                                                                                      Page 67
       1                                       D.       PARK
       2      professionally               --       I    mean       for       his
       3      business,         excuse          me?
       4             A.   No.
       5             Q.   Who's          the    friend          that          you    have
       6      that's      pretty          close          to    him?
       7             A.   Mr.       Jung,       J-U-N-G.
       8             Q.   Who       is    he?
       9             A.   My    high       school             friend.
      10             Q.   When       was       the       first          time    you
      11      learned         about       Mr.       Shin's          accident?
      12             A.   Next       day.
      13             Q.   How       did    you          learn?
      14             A.   Mr.       Jung.
      15             Q.   Mr.       Jung       told       you?
      16             A.   (No       audible             response.)
      17             Q.   Is    that       a    yes,          Mr.       Jung    told
      18      you?
      19             A.   Give       me    a    second,             I    think       it   was
      20      Mr.     Lee,      Chung          Lee.
      21             Q.   Mr.       Lee?
      22             A.   Yeah.
      23             Q.   How       did    he       tell       you?           Did    he
      24      call    you      on    the       phone,          did       he    see    you?
      25             A.   I    think       he       called          me    on    the
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 69 of 101 PageID #: 680


                                                                                                Page 68
       1                                              D.    PARK
       2      phone,          he    asked             me    what       happened             last
       3      night,          and       I    said,          "No,"          I    was       drunk,          I
       4      went       home       and       he       said          Mr.       Lee    told       me
       5      Mr.    Shin          was       hospitalized                      because          he
       6      fell       down       the       stairs.
       7             Q.       Did       Mr.       Lee       tell       you          why    he    fell
       8      down       the       stairs?
       9             A.       No,       I'm       assuming             at       the       time       he
      10      was    just          really             drunk          and       he    fell       down.
      11             Q.       Your          assumption                at       the    time       was
      12      that       he       was       drunk          and       fell       down?
      13             A.       Yes,          and       fell       down.
      14             Q.       Okay.
      15             A.       And       after          a    while,             not    that       day
      16      but    a    few       days          I    heard          there          was
      17      kicking,             some       people             were          saying       there
      18      was    a    kicking(sic).
      19             Q.       Have          you       ever       seen          any    videos
      20      showing             the       fall?
      21             A.       Yes.
      22             Q.       Okay.           And          how       did       you    see       this
      23      video,          who       showed             it    to    you?
      24             A.       I    don't          know,          I    saw       it.
      25             Q.       It    was       shown             to    you       by    Mr.       Cohen
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                                                                                       Page 69
       1                                     D.    PARK
       2      or    Mr.    Basil?
       3             A.    No.
       4             Q.    Was    it    shown          to       you       by    Mr.    Lee?
       5             A.    Maybe       Mr.    Lee,          but       I    don't
       6      remember          when    I    say       it.
       7             Q.    Where       were       you       when          you    saw    it?
       8             A.    I    don't       know.           Somebody             showed
       9      me    on    the    telephone.                 I    think          somebody
      10      showed       me    on    the    telephone.
      11             Q.    But    you       didn't          see       yourself          in
      12      the    video;       is    that       right?
      13             A.    No.
      14             Q.    Did    you       see    anybody                you    knew    in
      15      the    video?
      16             A.    In    the    video,          no,       I       wasn't       there
      17      so.
      18             Q.    Did    you       see    anybody                you    knew    in
      19      the    video?
      20             A.    John       Kim.
      21             Q.    John       Kim?
      22             A.    Mr.    Lee,       Young          Lee.
      23             Q.    Young       Lee?
      24             A.    That's       what       I    saw.
      25             Q.    Anybody          else?
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                                                                                       Page 70
       1                                        D.       PARK
       2             A.    No.
       3             Q.    So       you    didn't          see       Mr.    Shin?
       4             A.    Mr.       Shin,       yes,          I    saw.
       5             Q.    Did       you    see          Mr.       Chung    Lee?
       6             A.    No.
       7             Q.    Did       you    see          Mr.       Hong?
       8             A.    No.
       9             Q.    I'm       going       to       show       you    just       one
      10      quick       snapshot          of       a    video       that       was
      11      previously             marked          as    Exhibit          1,    March
      12      15th    to       --    that's          not       it    --    of    2019.
      13                            MR.    WEISSLER:                 Off    the
      14             record.
      15                            (Whereupon,                a    discussion          was
      16             held       off       the    record.)
      17             Q.    I'm       going       to       show       you    --    I'm
      18      going       to    go    from       10       seconds.              All
      19      right.
      20                   I'm       going       to       show       you    --    I'm
      21      going       to    move       it    from          nine       seconds,          I'm
      22      going       to    ask       you    to       pay       attention          to
      23      the    bottom          right-hand                corner?
      24                            MR.    COHEN:              Before       you
      25             answer;          lack       of       foundation.
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                                                                                          Page 71
       1                                        D.    PARK
       2                         MS.       NICOLAOU:                 What    are          you
       3             objecting             to,       Counselor,             what          is
       4             the    foundation?
       5                         MR.       COHEN:              You    haven't
       6             shown       that       he       has       seen    this
       7             video.
       8                         MS.       NICOLAOU:                 It's    not          the
       9             issue       of    seeing             the    video.           I
      10             just       need       him       to    identify
      11             somebody          in       the       video;       end       of
      12             story.
      13                         MR.       COHEN:              Objection;             lack
      14             of    foundation.
      15             Q.    To    nine       seconds,             sir,       do    you
      16      see,    as    I'm       toggling             between          nine
      17      seconds       and       10    seconds,             do    you       see       this
      18      gentleman          over       here          in    the    bottom
      19      right-hand          corner?
      20             A.    Okay.
      21             Q.    Seems       to       be    an       older    gentleman
      22      in   the     glasses,             green          shirt,       and       a
      23      black       jacket;          do    you       see       that?
      24             A.    Yes.
      25             Q.    Do    you       know       who       that    is?
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                                                                                    Page 72
       1                                        D.    PARK
       2             A.    No.
       3             Q.    Do       you    know       if    that's       Mr.    Hong?
       4                            MR.    COHEN:           Objection;
       5             object          to    the       form.        He    said    he
       6             doesn't          know       who       it    was.
       7             Q.    Do       you    know       if    it    was    Mr.    Hong?
       8             A.    I    don't          think       so.
       9             Q.    So       you've       never          seen    this    person
      10      before?
      11                            MR.    COHEN:           Objection          to    the
      12             form.
      13             A.    It       would       be    so    discreet.
      14             Q.    I'm       going       to    hit       play    because
      15      he's    in       this       video       for       about    two
      16      seconds          so    I'm       just    going       to    hit    play.
      17      Are    you       able       to    recognize          who    that
      18      gentleman             is?
      19             A.    The       person          who    disappeared?
      20             Q.    Yeah,          the    one       who    disappeared
      21      off    camera.
      22             A.    No.
      23             Q.    Okay.           That's          fine,       that    was       my
      24      only    question.
      25                   Did       you       handle       the    closing          of
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 74 of 101 PageID #: 685


                                                                             Page 73
       1                                     D.    PARK
       2      the    property          where       this    accident
       3      occurred          from       Mr.    Chung    Lee?
       4             A.    No.
       5             Q.    Did    you       handle      any    of    the
       6      accounting          work       for    the    property?
       7             A.    No.
       8             Q.    Have    you       --    do   you    know    who    the
       9      prior       owners       were?
      10             A.    No.
      11             Q.    Do    you       know    anybody      by    the    name
      12      of    Mitchell       Wang?
      13             A.    I    don't       know.
      14             Q.    Or    Dijon       Wang?
      15             A.    No.
      16             Q.    Richardson             Trust?
      17             A.    No.
      18             Q.    For    how       many    years      have    you    been
      19      going       to    this       karaoke      bar?
      20             A.    Maybe       five.
      21             Q.    When    was       the    last      time    you    were
      22      there?
      23             A.    About       a    year    ago.
      24             Q.    After       the       accident?
      25             A.    After       the       accident.
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 75 of 101 PageID #: 686


                                                                                       Page 74
       1                                           D.    PARK
       2             Q.       Do    you       recall          when    you       were
       3      there       a       year    ago,          do    you    remember
       4      anything             different             about       the    staircase
       5      when     you         went       there?
       6             A.       It    was       the       same    set       up,    I   don't
       7      know     if         they    changed             something.
       8             Q.       Do    you       know       if    it    was    changed        at
       9      all,     whether            that          be    cosmetically,
      10      structurally,                   or    something             else?
      11             A.       I    don't       think          so.
      12             Q.       You    don't          know       one    way       or   the
      13      other?
      14             A.       No.
      15             Q.       Okay.           All       right.
      16                      I    have       no    further          questions.
      17    EXAMINATION
      18    BY   MR.      WEISSLER:
      19             Q.       What       is    your          date    of    birth?
      20             A.       XX-XX-1967.
      21                            MR.       WEISSLER:              And    for
      22             purposes             of       the       record,       just      put
      23             in       the    year.
      24             Q.       And    where          were       you    born?
      25             A.       South       Korea.
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                                                                                       Page 75
       1                                        D.    PARK
       2             Q.    And    when          did    you    first          come       to
       3      the    United       States?
       4             A.    1983.
       5             Q.    Eighty       --
       6             A.    1983.
       7             Q.    Are    you       a    United       States          citizen?
       8             A.    Now,       yes.
       9             Q.    When       did       you    become          a   citizen?
      10             A.    About       1900's,          about          1991;       I
      11      don't       remember          the       exact       year.
      12             Q.    Okay.        Were          there       any      couches           in
      13      the    room       where       you       were    having          the
      14      Johnnie       Walker          Blue?
      15             A.    There       were          three    sofas,          we       were
      16      sitting       on    the       sofas.
      17             Q.    And    did       you       fall    asleep          on       one
      18      of    the    sofas?
      19             A.    Yes.
      20             Q.    And    did       you       have    a       table    in       that
      21      room    where       you       were       having          the    Johnnie
      22      Walker       Blue?
      23             A.    Table,       no;          sofa.
      24             Q.    And    when          Mr.    Shin       came       into       the
      25      room,       did    he    sit       down    on       a    sofa?
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 77 of 101 PageID #: 688


                                                                                       Page 76
       1                                        D.    PARK
       2             A.    Yes.
       3             Q.    Did       you       ever       see    any    bill       for
       4      what    was       consumed             if    had    the    room          you
       5      occupied          at       the    karaoke          bar?
       6             A.    No.
       7             Q.    Okay.              When    you       left    the    karaoke
       8      bar    at    around             two    in    the    morning,             how
       9      would       you    describe             the       artificial
      10      lighting          in       the    stairway?              Was    it
      11      light,       dark,          or    any       other       term    you       want
      12      to    use?
      13             A.    I    mean          normal,       I    guess,       normal
      14      staircase.                 It's       not    too    dark,       it's       not
      15      too    bright.
      16             Q.    Okay.              Were    there       any    handrails
      17      for    the       stairway?
      18             A.    I    think          so.
      19             Q.    Okay.              Were    they       on    both    sides
      20      of    the    stairway             or    only       on    one    side       or
      21      something          else?
      22             A.    From          my    other       times       there       I
      23      believe          there          was    only       handrails          on    the
      24      one    side.           I    don't       know       what    it    was       on
      25      that    night.
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                                                                                      Page 77
       1                                       D.       PARK
       2             Q.   When       you       went       to    the       restaurant
       3      on    Northern         Boulevard,                how    did       you       get
       4      there?
       5             A.   I    took       the       train       from          there       to
       6      Flushing,         7    train.
       7             Q.   Did       anyone          go    with       you       on    the
       8      train?
       9             A.   No.
      10             Q.   Who       did       you       meet    at    the
      11      restaurant?
      12             A.   Mr.       Hong       and       other       people
      13      basically         because             I    didn't       know          anybody
      14      over    there         so.
      15             Q.   When       you       say       "other       people"             did
      16      that    include            Mr.    Young          Lee?
      17             A.   Yes.
      18             Q.   Had       you       ever       met    Mr.       Young       Lee
      19      before      that       evening?
      20             A.   No.
      21             Q.   And       at    that          time,       did       you    know
      22      what    type      of       business             Mr.    Young          Lee    was
      23      in?
      24             A.   I    didn't          ask       him    but       I    just
      25      assumed         that       he    was       --    everybody             there
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 79 of 101 PageID #: 690


                                                                                    Page 78
       1                                     D.    PARK
       2      was    running          a    salad       bar.
       3             Q.    And       the    --    how       many    girls       were
       4      there       in    the       room    where       you       had    the
       5      Johnnie          Walker       Blue?
       6             A.    I    think       it    was       three       because
       7      there       was       three    of    us.
       8             Q.    Did       you    ever       go    into       any    other
       9      rooms       other       than       the    bathroom             during
      10      the    time       that       you    were       at    the       karaoke
      11      bar?
      12             A.    I    don't       remember,             no,    I    don't
      13      think       so.
      14             Q.    Okay.           Did    there       come       a    time
      15      that    you       learned          that       Mr.    Shin       had    been
      16      in    another          room?
      17             A.    Yes,       I    went    to       the    restrooms          so
      18      he    told       me    he    was    in    another          room.
      19             Q.    Did       you    ever       go    into       that    room?
      20             A.    I    don't       remember,             maybe,       maybe
      21      not.
      22             Q.    When       you    went       to    the       bathroom,
      23      did    you       throw       up?
      24             A.    I    don't       think       so.
      25             Q.    Okay.           And    when       you    went       to    the
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 80 of 101 PageID #: 691


                                                                                   Page 79
       1                                     D.       PARK
       2      bathroom,          did       you    see       Mr.    Shin      throw
       3      up?
       4             A.    No.
       5             Q.    Okay.           When       you       referred      to   the
       6      Noah       Bank,    is       that       a    capital       N   small,
       7      O-A-H,       or    is    it    all          capitals?
       8             A.    Capital          N,    small          letter,      O-A-H.
       9             Q.    I    have       nothing          further,         thank
      10      you.
      11
      12    EXAMINATION
      13    BY     MS.    NICOLAOU:
      14             Q.    I    just       have       a    follow-up
      15      question.
      16                   I'm    going          to       show    you    what's
      17      been       marked       as    Defendant's                Exhibit     H   on
      18      February          1st,       2019.           Do    you    recognize
      19      what's       depicted          in       this       photograph?
      20             A.    Okay.
      21             Q.    Do    you       recognize             what's      depicted
      22      in    this       photograph?
      23             A.    Correct,          this          picture.
      24             Q.    Yes.
      25             A.    Looks       like       the       way    downstairs.
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 81 of 101 PageID #: 692


                                                                                         Page 80
       1                                        D.       PARK
       2             Q.    From       the       karaoke            bar,       right?
       3             A.    Right.
       4             Q.    Does       this          refresh            your
       5      recollection                --    is       this      a    fair    and
       6      accurate          description                   of   what       the
       7      staircase             looked          like       back      in    April      of
       8      2016?
       9             A.    I    think          so,       yes.
      10             Q.    Do       you    see          two    handrails            on   the
      11      top    of    the       staircase?
      12             A.    Yes.
      13             Q.    Going          from          the    top      of    the
      14      staircase             down?
      15             A.    Yes.
      16             Q.    And       does       this          refresh         your
      17      recollection                that          on    April      of    2016,
      18      there       were       two       handrails?
      19             A.    (No       audible             response.)
      20             Q.    Does       it       --       "yes"      or    "no,"       sir.
      21             A.    It       doesn't             refresh         my
      22      recollection                but       I    just      always       remember
      23      that    I    was       leaning             towards         the    left.
      24             Q.    When       you       were          leaving         you    were
      25      leaning          on    the       left-hand               side?
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                                                                                    Page 81
       1                                        D.    PARK
       2             A.       I    may    be    wrong.
       3             Q.       Is    it    fair       to    say    you       really
       4      have       no       recollection             whether          there       was
       5      one    or       two    that       night?
       6             A.       Maybe,       yes.
       7             Q.       Okay.        And       you    see    how       there's
       8      carpeting             on    the    staircase,             sir?
       9             A.       Okay.
      10             Q.       Does       this    look       like       the
      11      carpeting             that       was    on    the    staircase
      12      back       in       April    of    2016       or    you       do    not
      13      know?
      14             A.       There       was    carpet          but    I    don't
      15      remember             the    colors.
      16             Q.       But    you       recognize          this       to    be    the
      17      staircase?
      18             A.       Yes.
      19             Q.       From       the    karaoke          bar    leading          to
      20      the    street          level;          is    that    right?
      21             A.       Yes.
      22    EXAMINATION
      23    BY     MR.    COHEN:
      24             Q.       Mr.    Park,       was       there       an    elevator
      25      in    the       building          where       the    karaoke          bar
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 83 of 101 PageID #: 694


                                                                                          Page 82
       1                                        D.       PARK
       2      is?
       3             A.    As    I       told       her,       there          was    an
       4      elevator          as       you    walk          in    from       the       street
       5      but    it    looks          like       it's          always          broken.
       6      I   never     tried          to       get       on    it.
       7             Q.    And       why       do    you       say       it    looks       like
       8      it's       always          broken?
       9             A.    There's             no    light.              Looking          at    it
      10      from       outside,          I    didn't             see    any       light
      11      and    I    never          saw    anybody             riding          it
      12      anyway       so,       I    just       assumed             to    walk       up?
      13             Q.    Thank          you.
      14    EXAMINATION
      15    BY    MS.     NICOLAOU:
      16             Q.    Mr.       Park,          if    I    were       to       tell    that
      17      Mr.    Shin       testified                that       every          time    he
      18      always       used          the    elevator             and       did       not
      19      use    the    staircase?
      20             A.    Okay.
      21             Q.    If    I       were       to    tell       you       that,       do
      22      you    recall          whether             or    not       Mr.       Shin    had
      23      ever       said    something                similar             to    you    in
      24      the    past?
      25             A.    No,       I    don't          think       so,       we    never
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                                                                                    Page 83
       1                                        D.    PARK
       2      talked       about       an       elevator.
       3             Q.    Is    there          a    button       to    press       the
       4      elevator          to    go    up       and    down?
       5             A.    I'm       sure       there       was.
       6             Q.    Did       you    ever       press       it?
       7             A.    No.
       8             Q.    Would       it       be    fair    to       say    that    you
       9      just       assumed       --
      10             A.    Yes.
      11             Q.    --    whether             correctly          or
      12      incorrectly             that          there    was       something
      13      wrong       with       the    elevator?
      14             A.    Yes.
      15             Q.    And       you    never          tried       to    use    the
      16      elevator?
      17             A.    Yes.
      18             Q.    You       just       chose       the    staircase          to
      19      go    up    to    the    second          level       and       down    to
      20      the    first       level,             correct?
      21             A.    Yes.
      22             Q.    Okay.           Thank       you.
      23                   I    have       no       further       questions.
      24    EXAMINATION
      25    BY     MR.    COHEN:
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                                                                                    Page 84
       1                                     D.    PARK
       2             Q.    I    believe          you    testified             that
       3      when       you    went       into    the       karaoke          bar,    you
       4      said       you    were       greeted          by    someone
       5      working          for    the    karaoke             bar?
       6             A.    The       waiter.
       7             Q.    And       did    they       escort          you    to    the
       8      room?
       9             A.    Yes.
      10             Q.    Did       you    ever       go    over       to    the
      11      elevator          and    press       the       button          for    the
      12      elevator?
      13             A.    No,       never.
      14             Q.    Nothing          further.
      15    EXAMINATION
      16    BY     MS.    NICOLAOU:
      17             Q.    Are       you    referring             to    the    waiter
      18      on    the    second          floor?
      19                   Just       to    be    clear,          when       you    went
      20      up    to    the    second          floor,          when    you       came
      21      up    the    staircase,             you       were       greeted       by    a
      22      waiter?
      23             A.    Yes.
      24             Q.    And       then    you       were       escorted          into
      25      your       room?
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                                                                          Page 85
       1                                  D.    PARK
       2             A.   Yes.
       3             Q.   You    didn't        need    the    elevator      at
       4      that    point?
       5             A.   When     I    walk    up.
       6             Q.   You    didn't        need    the    elevator      at
       7      that    point?
       8             A.   No.
       9             Q.   Okay.         Thank    you.
      10                  (Time        noted:     3:10       p.m.)
      11
      12
      13
      14
      15
      16
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      25
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 87 of 101 PageID #: 698


                                                                                           Page 86
       1
       2                            INSTRUCTIONS             TO    WITNESS

       3
       4                      Please          read    your       deposition          over

       5    carefully          and       make    any    necessary             corrections.

       6    You    should          state       the    reason       in    the    appropriate

       7    space       on    the       errata       sheet       for    any    corrections

       8    that       are    made.

       9                      After       doing       so,    please       sign       the

      10    errata       sheet          and    date    it.

      11                      You       are    signing       same       subject       to    the

      12    changes          you    have       noted    on       the    errata       sheet,

      13    which       will       be    attached       to       your    deposition.

      14                      It    is    imperative             that    you    return       the

      15    original          errata          sheet    to    the       deposing       attorney

      16    within       thirty          (30)    days       of    receipt       of    the

      17    deposition             transcript          by    you.        If    you    fail    to

      18    do    so,    the       deposition          transcript             may    be    deemed

      19    to    be    accurate          and    may    be       used    in    court.

      20
      21
      22
      23
      24
      25
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                                                                                Page 87
       1
       2                                -       -       -       -       -   -
                                            E       R   R   A       T   A
       3                                -       -       -       -       -   -
       4    PAGE      LINE       CHANGE
       5    ____      ____       ____________________________
       6    ____      ____       ____________________________
       7    ____      ____       ____________________________
       8    ____      ____       ____________________________
       9    ____      ____       ____________________________
      10    ____      ____       ____________________________
      11    ____      ____       ____________________________
      12    ____      ____       ____________________________
      13    ____      ____       ____________________________
      14    ____      ____       ____________________________
      15    ____      ____       ____________________________
      16    ____      ____       ____________________________
      17    ____      ____       ____________________________
      18    ____      ____       ____________________________
      19    ____      ____       ____________________________
      20    ____      ____       ____________________________
      21    ____      ____       ____________________________
      22    ____      ____       ____________________________
      23    ____      ____       ____________________________
      24    ____      ____       ____________________________
      25    ____      ____       ____________________________
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                                                                                                                Page 88
       1
       2                      A    C    K       N    O    W    L    E    D    G    E    M    E    N    T

       3    STATE       OF    NEW       YORK)

       4                                                      :SS

       5    COUNTY       OF       _________)

       6          I,    DANIEL          PARK,             hereby             certify             that       I    have

       7    read       the    transcript                      of    my       testimony                taken

       8    under       oath       on       May          21,       2019,          that       the

       9    transcript             is       a       true,          complete             and       correct

      10    record       of       what          was       asked,             answered             and       said

      11    during       my       testimony                   under          oath,          and       that       the

      12    answers          on    the          record             as    given          by       me    are       true

      13    and    correct,             except                for       the       corrections                   or

      14    changes          in    form             or    substance,                   if    any,          noted       in

      15    the    attached             Errata                Sheet.

      16
      17    ____________________________

      18    DANIEL       PARK

      19
      20    Signed       and       subscribed                      to

      21    before       me,       this             _____          day

      22    of    ____________,                      _______.

      23
      24    _________________________

      25    Notary       Public
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                                                                                                                                        Page 89
       1
       2              I       N       D       E       X         O       F       W       I       T       N       E       S       S       E       S
       3    WITNESS:                      DANIEL                PARK
       4    EXAMINATION                       BY                                                                                    PAGE
       5    MS.   BERKOWITZ                                                                                                         6
            MS.   NICOLAOU                                                                                                          28
       6    MR.   WEISSLER                                                                                                          74
            MS.   NICOLAOU                                                                                                          79
       7    MR.   COHEN                                                                                                             81
            MS.   NICOLAOU                                                                                                          84
       8
                          I       N       D       E       X         O       F       E       X       H       I       B       I       T       S
       9
            EXHIBIT                                            DESCRIPTION                                                              PAGE
      10
      11       (Whereupon                         no          exhibits              were                marked                      at          the
                                                              present           time.)
      12
      13
      14
      15
      16
      17
      18
      19
      20
      21
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      23
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      25
Case 1:17-cv-05183-RML Document 76-4 Filed 05/12/20 Page 91 of 101 PageID #: 702


                                                                                                              Page 90
       1
       2                              C    E    R    T    I    F    I    C       A    T    E

       3          I,       CHRISTA             M.    MILOSCIA,                   a    shorthand

       4    reporter             and       Notary             Public             within            and       for       the

       5    State          of    New       York,          do       hereby             certify:

       6          That          the       Witness(es)                   whose             testimony               is

       7    hereinbefore                   set       forth          was          duly          sworn         by    me,

       8    and       the       foregoing                transcript                   is       a   true       record

       9    of    the       testimony                given          by       such          Witness(es).

      10          I    further             certify             that          I       am    not      related             to

      11    any       of    the       parties             to       this          action            by    blood          or

      12    marriage,             and          that       I    am       in       no       way      interested

      13    in    the       outcome             of       this       matter.

      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
      24                                            Christa             M.       Miloscia,               a    Court

                                                    Reporter             and          Notary            Public

      25                                            Date:
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                                                                          Page 91
       1
       2                             LAWYER'S      NOTES
            PAGE/LINE        NOTE
       3    _________        __________________________________
            _________        __________________________________
       4    _________        __________________________________
            _________        __________________________________
       5    _________        __________________________________
            _________        __________________________________
       6    _________        __________________________________
            _________        __________________________________
       7    _________        __________________________________
            _________        __________________________________
       8    _________        __________________________________
            _________        __________________________________
       9    _________        __________________________________
            _________        __________________________________
      10    _________        __________________________________
            _________        __________________________________
      11    _________        __________________________________
            _________        __________________________________
      12    _________        __________________________________
            _________        __________________________________
      13    _________        __________________________________
            _________        __________________________________
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